                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

 HENRY E. LYONS,

                  Plaintiff,

         v.                                            Case No. 4:13-cv-00897-BP

 F. WAYNE VAUGHT, et al.,

                  Defendants.

                               JOINT STIPULATION OF DISMISSAL

       The parties, by and through their counsel of record, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii), hereby stipulate to the voluntary dismissal of this action, with prejudice, with each

party to bear their own attorney’s fees and costs.

Dated: December 5, 2017                        Respectfully submitted,

                                               McCLELLAND LAW FIRM
                                               A Professional Corporation

                                               By:    /s/ Ryan L. McClelland
                                                      Ryan L. McClelland, MO Bar #59343
                                                      The Flagship Building
                                                      200 Westwoods Drive
                                                      Liberty, Missouri 64068-1170
                                                      Telephone:    (816) 781-0002
                                                      Facsimile:    (816) 781-1984
                                                      ryan@mcclellandlawfirm.com

                                                      ATTORNEYS FOR PLAINTIFF

                                               and

                                               SEYFERTH BLUMENTHAL & HARRIS LLC

                                               By:    /s/ Michael L. Blumenthal
                                                      Michael L. Blumenthal, MO Bar # 49153
                                                      Deena B. Jenab, MO Bar #49666
                                                      4801 Main Street, Suite 310
                                                      Kansas City, Missouri 64112



              Case 4:13-cv-00897-BP Document 67 Filed 12/05/17 Page 1 of 2
                                                 TEL: (816) 756-0700
                                                 FAX: (816) 756-3700
                                                 mike@sbhlaw.com
                                                 deena@sbhlaw.com

                                                 ATTORNEYS FOR DEFENDANTS

                              CERTIFICATE OF SERVICE

       I hereby certify that on December 5, 2017, a true and correct copy of the foregoing
document was filed electronically through the Court’s CM/ECF system, and therefore, will be
transmitted to all counsel of record by operation of the Court’s CM/ECF system.


                                          By:    /s/ Ryan L. McClelland

                                                 ATTORNEYS FOR PLAINTIFF




                                     2
         Case 4:13-cv-00897-BP Document 67 Filed 12/05/17 Page 2 of 2
